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                              UNITED STATES DISTRICT COURT
                                  DISTRICT OF COLUMBIA

 ZACHARY CARL ROTH, SR. et al,

           Plaintiffs,

 v.                                                     Case No. 1:19-cv-02179

 ISLAMIC REPUBLIC OF IRAN,

           Defendant.



                     AMENDED EXPERT REPORT OF MICHAEL PREGENT

                           QUALIFICATIONS AND INTRODUCTION

1. My full name is Michael Pregent. I am a former intelligence officer with over 30 years of

      experience working in the fields of security, terrorism, counterinsurgency, and policy issues

      in the Middle East, North Africa, and Southwest Asia.

2. I have testified in five cases about Iran’s material support of terrorist activities. Pennington v.

      Islamic Republic of Iran, No. CV 19-796 (JEB), 2022 WL 168261 (D.D.C. Jan. 19, 2022);

      Lee v. Islamic Republic of Iran, 518 F. Supp. 3d 475 (D.D.C. 2021); Karcher, CV 16-232

      (CKK), 2021 WL 133507, at *1 (D.D.C. Jan. 14, 2021); Frost v. Islamic Republic of Iran,

      383 F. Supp. 3d 33 (D.D.C. 2019); and W.A. v. Islamic Republic of Iran, 427 F. Supp. 3d 117

      (D.D.C. 2019).

3. Based upon my knowledge, research, and methodology on April 8, 2021, I submitted a report

      with my opinions regarding the attacks in this case.

4. As the number of attacks that I review increases, so do the bases for my conclusions and

      attributions of specific attacks. The attribution of a specific attack involves one (or more) of

      the following markers, i.e., location, time, dominant terrorist group, TTP (tactics, techniques,

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    and procedures), intelligence reports, munitions, weapon seizures, significant activity reports,

    etc.

5. Since my initial report in this matter, I have continued to work on numerous cases involving

    terrorists’ attacks that resulted from Iran’s material support. Based upon that work, there is

    additional information available that provides a further basis for my opinions in this matter.

6. In late January 2022, I learned that the Court requested a hearing about the attacks at issue

    and I requested additional time to supplement the bases for my opinions from that additional

    work since my first declaration. 1

7. I receive a fee in the amount of $300 per hour for the professional time spent on this

    investigation, report, and testimony. I do not have any connections or relationships, whether

    professional or personal, with any of the parties or the witnesses in this hearing/trial, that

    prevent me from giving impartial testimony.

                                    EXPERTISE ON AFGHANISTAN

8. I served as an intelligence officer at CENTCOM in 2001 where I specifically looked at the

    Taliban and al-Qaeda and brief senior leadership.

9. In 2002, I served as a Company Commander in Afghanistan at the height of the U.S. focus on

    al-Qaeda, the Taliban, and the Haqqani group.

10. From 2006 to 2010, I was deployed to Iraq to focus on Iran’s support to the Sunni

    insurgency, Iran’s penetration of Iraq’s security apparatus, and IRGC-QF direct control of

    Iraqi Shia militias.



1
  During this period of additional time, I received and reviewed additional information from Counsel for Plaintiffs,
that they obtained from QRF, a consulting firm with military and intelligence consultants. This supplemental
information on certain attacks included pre-redacted WikiLeaks reports, which assisted me in verifying and
disqualifying attacks and attributions. See p. 72 and 103 below.



                                                          2

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11. From 2011 to 2013, I worked on assessing Pakistan and Iran’s lethal aid to the Taliban,

   specifically looking at the IRGC-QF and MOIS support to al-Qaeda and the Taliban.



                               FOCUS ON IRAQ INSURGENCY

12. Between 2006 and 2011, I worked as a Subject Matter Expert on Malign Iranian Influence in

   Iraq and reported on the sectarian activity I observed as a policy advisor in PM Maliki’s

   extra-constitutional Office of the Commander-in-Chief - an office set up to ensure Iranian-

   backed Shia militia party control of Iraq’s security and political process – and as a Defense

   Intelligence Agency (DIA) contracted Subject Matter Expert (SME) on The Sunni

   Insurgency and IRGC-backed militias in Iraq.

13. I served two tours as a member of the Force Strategic Engagement Cell or (FSEC), an

   organization set up to deal with the Sunni insurgency and curb Iran’s growing influence

   within the Government of Iraq.

14. I am an expert on IRGC-QF militias in Iraq and the Sunni Insurgency in Iraq.

15. I served five tours in Iraq from 2005 to 2010.

16. As an SME, I prepared analysts, U.S. State Department Officers, and coalition general

   officers for detainee questioning of Qays Khazali of the Shia Militia Group, Asaib Ahl al-

   Haqq ("AAH"), and DaqDuq of Hezbollah.

17. I put together the arguments against their release --- a “no vote” --- with the warning that

   each had “American blood on his hands and will return to violence.”

18. I worked on identifying Iran’s support for and direction of IRGC and Q- backed Shia Militias

   and Sunni groups in Iraq to target Americans. I was an SME for the Multi-National Forces-




                                                 3

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   Iraq ("MNF-I") and United States Forces- Iraq ("USF-I") on the IRGC-QF, Kataib Hezbollah

   ("KH", AAH, Badr Organization, and Jaysh al-Mahdi ("JAM") "Special Groups."

19. I have firsthand intelligence knowledge of AAH Leader, Qays Khazali, Lebanese Hezbollah

   operative, DaqDuq, JAM Special Group, Sheibani's Network, JAM Special Group leader,

   Abu Dura, IRGC-QF Commander, Qassem Soleimani, Badr Organization Commander, Hadi

   al-Ameri, and the KH Leader, Abu Mehdi al-Muhandis.

20. While at CENTCOM, I served on a team looking at the captured documents from the Osama

   Bin Laden raid in Abbottabad Pakistan. My focus was to find Iran – al-Qaeda connections.

   The documents revealed an on-going and long-standing relationship with al-Qaeda.

21. I was brought on as an expert at the National Defense University in 2014 at the request of

   then-Army Chief of Staff, General Ray Odierno, to contribute to the Department of the

   Army's History of the Iraq War.

22. I provided inputs on Malign Iranian influence in Iraq to include IRGC-QF training, arming,

   funding, and directing Iraqi Shia Militias to target Americans; and IRGC-QF lethal aid and

   facilitation of foreign fighters to al-Qaeda and its affiliates to target Americans and bog down

   “FIX” American forces in Sunni areas.

23. I am currently a Senior Fellow at Hudson Institute. I am a Senior Middle East analyst, a

   former adjunct lecturer for the College of International Security Affairs ("CISA"), and former

   visiting fellow at the Institute for National Strategic Studies ("INSS") at the National

   Defense University.

             EXPERTISE ON IRAN IN IRAQ, SYRIA, AND AFGHANISTAN

24. General Qassem Soleimani’s own words to General David Petraeus in 2008, “Dear General

   Petraeus,” the text read, “you should know that I, Qassem Soleimani, control the policy for


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    Iran with respect to Iraq, Lebanon, Gaza and Afghanistan. And indeed, the ambassador in

    Baghdad is a Quds Force member. The individual who’s going to replace him is a Quds

    Force member.” 2

25. The methodology which was used in the writing of this Report is drawn from experience in

    Iraq working specifically on Iran’s IRGC-QF and their proxy Militias in Iraq, as well as from

    my years as an intelligence officer for the U.S. Military and as a contracted SME with the

    DIA, where I focused on subjects which were related to terrorism in general, al-Qaeda and

    the Taliban in Afghanistan, the Sunni insurgency in Iraq, and IRGC-QF and Lebanese

    Hezbollah support to Shia Militias in Iraq and Sunni groups in particular. As part of my

    research on IRGC-QF proxies in Iraq, I visit Iraq and the region to gauge Iran’s increasing

    influence in Iraq and the broader Middle East and North Africa.

26. I have prepared Military and State Department senior officials for their interviews with

    detained IRGC-QF proxy Militia members responsible for the deaths of Americans. I have

    accompanied them during these interviews to keep the line of questioning on track and to

    write the reports from the interviews with well-known militia leaders and operatives like

    Qays and Laith Khazali, and Lebanese Hezbollah operative, Musa DaqDuq.

27. I was in Iraq during the majority of IRGC-QF- and Lebanese Hezbollah- directed attacks on

    American forces during the period relevant to the Soldiers involved in this case, that is, from

    2005 through 2010, and I continued to work on Iraq security issues at the Defense

    Intelligence Agency until 2011.

28. I was privy to the intelligence and had access to detainees involved in these attacks. I was

    there when the U.S. Armed Forces voted “no” to releasing IRGC-linked Militia personnel


2
 Blake, Aaron, “When the United States and Qasem Soleimani worked together”, The Washington Post, January 3,
2020. https://www.washingtonpost.com/politics/2020/01/03/when-united-states-qasem-soleimani-worked-together/

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   responsible for the deaths and maiming of Americans from U.S. detention centers. I was in

   the meetings when the USF-I Commander decided to release the Khazali brothers in a

   reconciliation effort that failed.

29. I was privy to the evidence of their involvement in the deaths of Americans from kidnapping

   and executions to the use of Explosively Formed Penetrators ("EFPs"), indirect-fire ("IDF")

   mortars and rockets, direct-fire ambushes ("DF"), complex ambushes, improvised-rocket-

   assisted-munitions ("IRAMs"), and improvised explosive devices ("IEDs").

30. The breadth of Iran’s reach into the Iraqi intelligence and security apparatus facilitated

   Militia integration and operational capability within the ministries and the security forces.

   This reach allowed Militias to pattern U.S. Coalition movements and plan effective attacks

   against U.S. forces.

31. The level of IRGC-QF-backed Militia infiltration in Iraq’s ministries allowed these groups to

   use U.S.-purchased SUVs, ministry uniforms, and official documents authorizing travel and

   the detention of Iraqis throughout areas strategic to Iran. It was no surprise that JAM Special

   Groups, AAH, and KH were able to use U.S. transferred SUVs to Iraq’s Ministry of the

   Interior and Ministry of Health to move through checkpoints and pose as official security

   forces as they surveilled and attacked Americans in Iraq.

32. IRGC-QF-backed and Lebanese Hezbollah-trained Militias could move freely through U.S.

   Areas of Responsibility ("AOR") where most of these attacks in question occurred.

33. The Shia Militias had their AOR and those areas overlayed the attacks against Americans

   they were responsible for.




                                                  6

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34. The Badr Organization dominated Iraq’s ministries and the intelligence and security

      apparatus. Badr’s officer corps dominated the officer ranks of the Iraqi Security Forces

      while Jaysh al-Mahdi (“JAM”) personnel filled the enlisted ranks.

35. Both groups had likeminded strategies in Baghdad: protect and expand Shia zones of

      influence while reshaping the demographics of Baghdad, Diyala, and Salah-ad-Din.

                    THE IRGC-HEZBOLLAH CONNECTION TO AL-QAEDA

36. Before the 9-11 attacks, al-Qaeda developed a relationship with Iran’s premiere proxy in the

      Middle East – Lebanese Hezbollah. Hezbollah organized and supported numerous IRGC-

      directed terrorist attacks for the benefit of Islamic Republic of Iran.

37. Senior al-Qaeda leadership met with the mastermind Hezbollah terrorist responsible for the

      Marine Barracks bombing in Lebanon. Al-Qaeda leadership wanted to learn Lebanese

      Hezbollah tactics and techniques and Hezbollah trained al-Qaeda operatives on IEDs, suicide

      bombings, and complex attacks and ambushes – the same tactics al-Qaeda would use in Iraq

      against U.S. forces.

38. In 1991, Ayman al Zawahiri, one of the top leaders of al Qaeda, made a secret visit to Iran to

      ask for help in al Qaeda’s campaign to overthrow the government of Egypt. 3 While in Iran,

      al Zawahiri met with Imad Mughniyah (“Mughniyah”). 4 At the time of the meetings,

      Mughniyah was the terrorist operations chief of Hezbollah. Mughniyah was acting as an

      agent of the Iranian state, where he lived for many years as he coordinated high profile

      terrorist attacks around the globe.




3
    Havlish v. bin Laden, 03cv9848 (GBD) (FM)
4
    Id.

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39. During these meetings, Mughniyah convinced al Zawahiri and al Qaeda of the power of

     suicide bombing. 5 This was a change in mindset for al Qaeda because suicide was prohibited

     by most Islamic clerics, but Mughniyah justified it as an appropriate act of a jihad warrior.

40. In 1993, at a meeting in Khartoum, Sudan, Osama bin Laden and Ayman al Zawahiri met

     with Mughniyah and other Iranian officials, including IRGC General Mohammed Baqr

     Zolqadr, to work on details of a terrorism alliance. 6

41. Following the meeting, bin Laden sent more terrorist operatives to Hezbollah training camps

     operated by Mughniyah and the IRGC both in Lebanon and Iran. At these camps, Hezbollah

     instructors provided al Qaeda operatives, as well as members of various other Islamic

     terrorist organizations, with training in intelligence and security and in the building of

     explosive devices. 7

42. This terrorist training camp arrangement continued throughout the 1990s with Mughniyah

     coordinating the activities with Iranian government officials and the IRGC-QF. At all times,

     Iran’s Supreme Leader was aware of the Iran – Hezbollah terrorist training program and

     approved of the same. 8

43. According to the 9/11 Commission Report, “senior al Qaeda operatives and trainers traveled

     to Iran to receive training in explosives,” while others “received advice and training from

     Hezbollah” in Lebanon. 9




5
  Id. at 112.
6
  Id.
7
  Id.
8
  Id.
9
 Joscelyn, Thomas, “The Al Qaeda-Iran Connection” August 8 2018, The Weekly Standard.
https://www.fdd.org/analysis/2018/08/08/the-al-qaeda-iran-connection/


                                                    8

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44. Documents captured from the 2010 Abbottabad raid included 19-page record citing

       negotiations between the IRGC and al-Qaeda to fund and arm the Sunni terror group to target

       Americans in Iraq and Afghanistan. 10

45. In 1995, Soleimani approved, and his Qods Force facilitated training for al-Qaeda operatives

       at Lebanese training camps. The training focused on building stronger IEDs and shape

       charges that would be used in Afghanistan and Iraq. 11

46. Abu Musab al-Zarqawi was in Iran in 2002 with senior al-Qaeda leaders to meet with the

       IRGC- QF handlers. In March 2003, Soleimani’s Quds Force freed many of the Sunni

       jihadists that Iran had been holding captive, unleashing them against the U.S. 12

47. And In 2003, the IRGC-QF provided Zarqawi and his fighters funds and weapons and

       facilitated Zarqawi’s entry into the bordering Iraqi Kurdistan and onto Baghdad to attack

       U.S. forces. 13

48. Zarqawi and his Tawhid wal-Jihad (Monotheism and Holy War) initiate mass casualty

       attacks against the Iraqi population and complex attacks against the U.S.-led Coalition.

49. Zarqawi established his group to attract former Saddam regime fighters and foreign fighters

       moving into Iraq from Syria.




10
  Levy, Adrian and Scott-Clark, Cathy, “Al-Qaeda Has Rebuilt Itself – With Iran’s Help” The Atlantic, November
11, 2017. https://www.theatlantic.com/international/archive/2017/11/al-qaeda-iran-cia/545576/
11
     Id.
12
   Sadjadpour, Karim. “The Sinister Genius of Qassem Soleimani” The Wall Street Journal, January 10, 2020.
https://www.wsj.com/articles/the-sinister-genius-of-qassem-soleimani-11578681560
13
  Levy, Adrian and Scott-Clark, Cathy, “Al-Qaeda Has Rebuilt Itself – With Iran’s Help” The Atlantic, November
11, 2017. https://www.theatlantic.com/international/archive/2017/11/al-qaeda-iran-cia/545576/


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50. In November of 2003, Osama Bin Ladin begins sending 1.5 million dollars a month to the

     Iraqi Insurgency and identifies Zarqawi as al-Qaeda’s man on the ground. 14




           U.S. DESIGNATIONS REVEAL IRAN - AL-QAEDA RELATIONSHIP

51. On 28 July 2011, a U.S. Treasury designation revealed the extensive relationship between al-

     Qaeda and Iran, citing the importance of Iranian finance and recruitment facilitation. The

     designation cites Iran as a transit point for moving money, arms, and fighters to Pakistan and

     Afghanistan. Iran borders Afghanistan, Pakistan, and Iraq. 15

52. On 16 February 2012, U.S. Treasury Designates Iranian Ministry of Intelligence and Security

     for support to Al-Qaeda. “MOIS has facilitated the movement of al Qaeda operatives in Iran

     and provided them with documents, identification cards, and passports. MOIS also provided

     money and weapons to al Qa’ida in Iraq (AQI)... and negotiated prisoner releases of AQI

     operatives.” 16

53. On 18 October 2012, the U.S. Department of the Treasury, issued a press release titled,

     “Treasury Further Exposes Iran-Based Al-Qaeda Network”, stating “‘Today’s action, which

     builds on our action from July 2011, further exposes al-Qaeda’s critically important Iran-



14
  Strategic Studies Institute and U.S. Army War College Press, “The U.S. Army In The Iraq War Volume 1
(Invasion, Insurgency, Civil War) 2003-2006”, January 2019.
https://digitalcommons.usmalibrary.org/cgi/viewcontent.cgi?article=1018&context=books
15
  U.S. Treasury Department, “Treasury Targets Key Al-Qa’ida Funding and Support Network Using Iran as a
Critical Transit Point”, July 28, 2011. https://www.treasury.gov/press-center/press-releases/Pages/tg1741.aspx


16
   U.S. Treasury Department, “Treasury designates Iranian Ministry of Intelligence and Security for Human Rights
Abuses and support for Terrorism”, February 16, 2012. https://www.treasury.gov/press-center/press-
releases/Pages/tg1424.aspx


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       based funding and facilitation network,’ said Under Secretary for Terrorism and Financial

       Intelligence, David S. Cohen. ‘We will continue targeting this crucial source of al-Qaeda’s

       funding and support, as well as highlight Iran’s ongoing complicity in this network’s

       operation.’” 17 The release went on to state, “In addition to providing funding for al-Qaeda

       activities in Afghanistan and Pakistan, this network is working to move fighters and money

       through Turkey to support al-Qaeda-affiliated elements in Syria. Al-Fadhli also is leveraging

       his extensive network of Kuwaiti jihadist donors to send money to Syria via Turkey.” 18

           SYRIAN INTELLIGENCE MOVED AL-QAEDA FIGHTERS INTO IRAQ

54. The Assad regime depends on Lebanese Hezbollah and the Islamic Republic to keep him in

       power. Iran needs Iraq and Syria to be part of its “Shia Crescent” along with Lebanon to be

       able to move fighters and weapons into the Levant to threaten Israeli and American interests

       in the region. Assad is still in his position because of Lebanese Hezbollah and the Islamic

       Republic of Iran.

55. Throughout the Iraq War, Syrian intelligence officers facilitated al-Qaeda operations in Iraq

       by providing safehouses, training sites, and manpower. A Syrian intelligence network is

       described by this State Department cable as follows: “A July 11, 2008 cable from the U.S.

       Embassy in Baghdad describes the network as the ‘principal conduit for foreign terrorists

       heading into Iraq to join AQI’…This network continues to operate with the knowledge of the




17
  U.S. Treasury Department, “Treasury further exposes Iran-based al-Qaeda Network” October 18, 2012.
https://www.treasury.gov/press-center/press-releases/pages/tg1741.aspx
18
     Id.


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       Syrian government and sends virtually all of its foreign terrorists into Iraq across the Syrian

       border.” 19

56. Bashar al-Assad was aware and approved the operations. State Department’s cable stated:

       “Bashar al-Asad was well aware that his brother-in-law ‘Asif Shawqat, Director of Syrian

       Military Intelligence, had detailed knowledge of the activities of AQI facilitator Abu

       Ghadiya, who was using Syrian territory to bring foreign fighters and suicide bombers into
                20
       Iraq.”

                            THE AL-QAEDA AND IRAN CONNECTION

57. The Osama Bin Laden Sensitive Site Exploitation (SSE) of the Abbottabad raid revealed the

       connection between al-Qaeda and the Islamic Republic of Iran. The IRGC and its IRGC

       Qods Force funded and armed al-Qaeda operatives to strike American targets. The IRGC

       facilitated movement of al-Qaeda and Taliban fighters. In the case of al-Qaeda, the IRGC

       facilitated the movement of operatives into Afghanistan, Pakistan, and Iraq. 21

58. Abu Musab al-Zarqawi, al-Qaeda’s man in Iraq and the godfather of ISIS, received training

       and funds from the IRGC-QF in Iran before moving into Afghanistan and then heading al-

       Qaeda’s terrorist operations in Iraq. 22




19
  Joscelyn, Thomas, “Slain Syrian official supported al-Qaeda in Iraq” FDD’s Long War Journal, July 24, 2012,
https://www.longwarjournal.org/archives/2012/07/slain_syrian_officia.php
20
  Id.
21
  Levy, Adrian and Scott-Clark, Cathy, “Al-Qaeda has rebuilt itself with Iran’s help” November 11, 2017,
https://www.theatlantic.com/international/archive/2017/11/al-qaeda-iran-cia/545576/ (This article cites captured
documents from the Abbottabad raid on Osama Bin Laden and highlights the connections to the IRGC-Qods Force.)
22
     Id.


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59. Zarqawi visited IRGC-QF training camps and received financial and material support from

       the IRGC-QF. Captured al-Qaeda operative Omar Bizani, a Zarqawi lieutenant stated in his

       interrogations that the IRGF was supporting Zarqawi. 23,       24



60. The Qods Force provided Zarqawi with funding, weapons, and transportation into Iraq to

       target U.S. troops. 25




             IRGC-QF AND MOIS SUPPORT TO THE TALIBAN IN AFGHANISTAN



61. The IRGC-QF is the Islamic Republic of Iran’s primary instrument for providing lethal aid to

       the Taliban. The Qods Force provides weapons and financial support to the Taliban to
                                                                           26
       support anti-U.S. and anti-Coalition activity in Afghanistan.

62. Since at least 2006, Iran has arranged frequent shipments of small arms and associated

       ammunition, rocket propelled grenades, mortar rounds, 107mm rockets, plastic explosives,

       and man-portable defense systems to the Taliban. 27




23
  Al-Mustaqbal (Beirut), October 5, 2004, cited in Eurasia Security Watch, No. 53, American Foreign Policy
Council, Washington, D.C., October 7, 2004.
24
  Jonathan D. Halevi, No. 538 1 Tevet 5766 / 1 January 2006, “Al-Qaeda, Zarqawi, and Israel: Is There a
New Jihadi Threat Destabilizing the Eastern Front?”, Dore Gold and Lt. Col. (res.),
https://www.jcpa.org/jl/vp538.htm
25
     Id.
26
  U.S. Department of State, “Country Reports on Terrorism 2019”, https://www.state.gov/reports/country-reports-
on-terrorism-2019/


27
  U.S. Department of State, “Country Report on Terrorism 2007”, https://2009-
2017.state.gov/documents/organization/105904.pdf


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63. This support contravenes Chapter VII UN Security Council obligations. UN Security

           Council resolution 1267 established sanctions against the Taliban and UN Security Council,

           and resolutions 1333 and 1735 imposed arms embargoes against the Taliban. 28

64. Through Qods Force material support to the Taliban, Iran is seeking to inflict casualties on

           U.S. and NATO forces. Iran is injuring and killing U.S. personnel by proxy. 29

65. The 2012 State Department “Country Reports on Terrorism” stated that, “Iran has arranged

           arms shipments to select Taliban members, including small arms and associated ammunition,

           rocket propelled grenades, mortar rounds, 107mm rockets, and plastic explosives.” 30

66. In 2012, the IRGC-QF “shipped a large number of weapons to Kandahar, Afghanistan,

           aiming to increase its influence in this key province.” 31

67. The State Department added, “the Islamic Revolutionary Guard Corps’ Quds Force (IRGC-

           QF) Ansar Corps (the IRGC command responsible for operations in Afghanistan) trained

           Taliban elements on small unit tactics, small arms, explosives, and indirect fire weapons,

           such as mortars, artillery, and rockets.” 32




28
  United Nations Security Council, “Security Council Committee pursuant to resolutions 1267 (1999) 1989 (2011)
and 2253 (2015) concerning Islamic State in Iraq and the Levant (Da’esh), Al-Qaida and associated individuals,
groups, undertakings and entities”, https://www.un.org/securitycouncil/sanctions/1267
29
  United States Institute of Peace, Iran Primer, “Iran Deal: U.S. Sanctions on the IRGC”, Updated: May 11, 2022,
https://iranprimer.usip.org/blog/2022/apr/13/iran-deal-us-sanctions-irgc

30
     Id.
31
  U.S. Department of State, “Chapter 2. Country Reports: Middle East and North Africa Overview”, Office of the
Coordinator for Counterterrorism, Country Reports on Terrorism 2012, May 30, 201, https://2009-
2017.state.gov/j/ct/rls/crt/2012/209982.htm
32
     Id.


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68. The U.S. Treasury Department designated General Hossein Musavi, the commander of The

     Ansar Corps in 2010 for supporting operations in Afghanistan under Executive Order 13224.

     The designation cited providing financial and material support to the Taliban. 33

69. The Taliban have conducted training in Iran on small unit tactics to include ambushes, mortar

     and rocket attacks, IEF, EFPs, IEDs, sniper operations, and kidnapping operations. The
                                                                                                     34
     IRGC-QF Ansar Corps continues to ship large amounts of weapons to the Taliban.

           IRAQ ATTACK ATTRIBUTION METHODOLOGY AND ANALYSIS

70. In my examination and analysis of the terrorist attacks and the tactics used in the attacks that

     occurred in Iraq in this lawsuit, I have made use of all of my intelligence experience and

     knowledge which I discussed in the previous section of this Report.

71. The inescapable conclusion is that the Islamic Republic of Iran specifically used its IRGC,

     IRGC-QF, and its premier proxy Lebanese Hezbollah to provide funding, training, weapons

     and equipment to Sunni and Shia groups, and most importantly direction to IRGC-QF proxy

     Iraqi Shia Militia groups to target Americans and destabilize Iraq.

72. In order to prepare my Declaration, I was provided with the following documents, reports

     and forms, not all of which were available for any one Soldier, but which were provided

     when available for each Soldier:

             •   Soldier and Family Member Declarations;
             •   Social Security Numbers;
             •   Certificates of Death;
             •   Casualty Reports;
             •   Autopsy Reports;
33
    U.S. Department of the Treasury, Press Release: Fact Sheet: U.S. Treasury Department Targets Iran’s Support
for Terrorism Treasury Announces New Sanctions Against Iran's Islamic Revolutionary Guard Corps-Qods Force
Leadership, August 3, 2010, https://home.treasury.gov/news/press-releases/tg810
34
  RAND National Security Research Division, “Iran’s Influence in Afghanistan Implications for the U.S.
Drawdown”, 2014, by Alireza Nader, et al.,
https://www.rand.org/content/dam/rand/pubs/research_reports/RR600/RR616/RAND_RR616.pdf


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             •   DD Form 214, Certificate of Release or Discharge from Active Duty; and
             •   Pre-redacted Wikileaks (reports to verify or disqualify attribution claims).


73. Based on the documents and reports provided to me, I was able to look at the locations and

     missions of the units the victims were assigned to and, along with my counter-insurgency

     experience and documents supporting the area of operations of specific Sunni and Shia

     groups receiving Iran-linked lethal aid, I was able to assess that specific U.S. military

     personnel were in fact involved in specific attacks by groups that received lethal aid from

     Iran’s IRGC-QF, the MOIS (IRGC-QF and MOIS -Afghanistan), and Lebanese Hezbollah.

                    IRGC-BACKED SHIA MILITIA AREAS OF OPERATION 35

74. According to the Institute for the Study of War, Shia militias were highly active in Diyala,

     Salah ad Din, Kirkuk, and in central and southern Iraq. The Special Groups of AAH and KH

     were active in the Baghdad city districts of Kadhamiya, Adhamiya, Mansour, Rasheed,

     Baya’a and Saidiya, Sadr City, Shu’ala, Hurriya and Kadhamiya. 36

75. In areas of the capital which once were mixed Sunni-Shia areas, the sectarian demographics

     developed during the Relevant Time Period of 2003 - 2013 into predominantly Shia areas

     and solidified during the ISIS campaign due to Shia Militia expansion and cleansing of these

     areas by the groups. 37, 38


35
   See the “IRCG-QF Strategy to Support Sunni and Shia attacks against the U.S. in Iraq: Keep U.S. Focused on
Sunni Areas and Build Shia Militia Primacy,” that is attached hereto as Attachment D.
36
  "Baghdad City (‫)ﻣﺪﯾﻨﺔ ﺑﻐﺪاد‬," Institute for the Study of War, 2008,
http://www.understandingwar.org/region/baghdad-city-‫ﺑﻐﺪاد‬-‫ﻣﺪﯾﻨﺔ‬.
Marisa Cochrane, “Jaysh al-Mahdi," Excerpted from “The Fragmentation of the Sadrist Movement,” Iraq Report 12,
Institute for the Study of War, January 2009, http://www.understandingwar.org/jaysh-al-mahdi.
37
   Marisa Cochrane, “Jaysh al-Mahdi," Excerpted from “The Fragmentation of the Sadrist Movement,” Iraq Report
12, Institute for the Study of War, January 2009, http://www.understandingwar.org/jaysh-al-mahdi.
38
  Wing, Joel, "Columbia University Charts Sectarian Cleansing of Baghdad," Musings on Iraq Blog, November 19,
2009, http://musingsoniraq.blogspot.com/2009/11/blog-post.html


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     THE IRGC-QF AND LEBANESE HEZBOLLAH UNIT 3800 TRAINED, EQUIPPED,
       AND DIRECTED SHIA MILITIAS TO FOCUS ATTACKS ON U.S. FORCES.

76. General Odierno, USF-I Commander, said with regards to Shia Militia attacks on U.S.

     Forces: “Whether that’s connected directly to the Iranian government — we can argue about

     that… but they are clearly connected to Iranian IRGC.” 39

77. In 2007, Odierno also stated that 73% of American casualties in Baghdad were caused by

     Shia Militia attacks. 40

78. The IRGC-QF provided substantial financial and technical support to Shia Militias. The

     IRGC established, organized, and funded attack networks, with Lebanese Hezbollah serving

     as the premiere QF proxy to train and facilitate attacks against U.S. Forces in Iraq. 41

79. The U.S. Military, along with U.S. intelligence, documented large quantities of enemy

     weapons in Iraq with imprints on lethal material manufactured in Iran. In particular, highly

     lethal EFPs made from special copper disks manufactured with highly calibrated machines

     provided by the IRGC were discovered. 42

                       EXPLOSIVELY FORMED PENETRATORS (EFPS)




39
   Roggio, Bill, "Iranian-backed Shia terror group remains a threat in Iraq: General Odierno," The Long War
Journal, July 13, 2010, http://www.longwarjournal.org/archives/2010/07/iranianbacked_shia_t_1.php.
40
  Gordon, Michael, "U.S. Says Iran-Supplied Bomb Kills More Troops," The New York Times, August 8, 2007,
http://www.nytimes.com/2007/08/08/world/middleeast/08military.html.
41
  Levitt, Matthew, “Hezbollah’s Regional Activities in Support of Iran’s Proxy Networks” The Middle East
Institute, July 2021, https://www.mei.edu/sites/default/files/2021-
07/Hezbollah’s%20Regional%20Activities%20in%20Support%20of%20Iran’s%20Proxy%20Networks_0.pdf
42
  Kagan, Kimberly, “Iran’s Proxy War against the United States and the Iraqi Government,” Institute for the Study
of War and The Weekly Standard, May 2006-August 20, 2007,
http://www.understandingwar.org/sites/default/files/reports/IraqReport06.pdf


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80. EFPs served as a primary tactic of choice for AAH and KH Special Groups, making the

       devices the primary weapon used by IRGC-QF proxies to hit Americans on the ground in

       Iraq. 43

81. The EFP was introduced to be used against U.S. Forces, not against Iraqis, as the EFP is most
                                                                                                                  44
       effective against armored vehicles that normal IEDs cannot penetrate, such as HUMVEES.

82. EFPs accounted for a disproportionate number of U.S. fatalities. In July 2007 alone, 23 of 69

       U.S. service members killed in action were killed by EFPs, and 89 of the 614 wounded came

       from EFP attacks. 45, 46

83. In Iraq, beginning in 2004 and continuing through the withdrawal of U.S. combat forces in
                                                                                                   47, 48, 49
       2011, 1,526 EFPs killed a total of 196 U.S. service members and wounded 861.

84. The IRGC-QF centralized its EFP supply operations to KH and AAH cells, to ensure their

       proper use against U.S. forces and the minimization of Iraqi casualties. 50



43
  Knights, Michael, “Iran’s Expanding Militia Army in Iraq: The New Special Groups” USMA CTC, August 2019,
https://ctc.usma.edu/irans-expanding-militia-army-iraq-new-special-groups/
44
   Opening Statement of Brigadier General Anthony J. Tata, U.S. Army (Retired), Before the House Committee on
Homeland Security, January 15, 2020, https://www.congress.gov/116/meeting/house/110365/witnesses/HHRG-116-
HM00-Wstate-TataA-20200115.pdf

 Clay Wilson, “Improvised Explosive Devices (IEDs) in Iraq and Afghanistan: Effects and Countermeasures”,
45

CRS Report for Congress, Updated August 28, 2007, https://sgp.fas.org/crs/weapons/RS22330.pdf
46
     David Hambling, “EFP in Iraq: Deadly Numbers”, Wired, https://www.wired.com/2007/08/superbombs-the/

47
   Crain, Charles, "How Much Is Iran to Blame for Iraq?" TIME, February 12, 2007,
http://content.time.com/time/world/article/0,8599,1588135,00.html.
48
   Weisgerber, Marcus, "How Many US Troops Were Killed By Iranian IEDs in Iraq?" Defense One, September 8,
2015, http://www.defenseone.com/news/2015/09/how-many-us-troops-were-killed-iranian-ieds-
iraq/120524/?oref=defenseone_today_nl
49
   Knights, Michael, "Iranian EFPs in the Gulf: An Emerging Strategic Risk," Washington Institute for Near East
Policy, February 23, 2016, http://www.washingtoninstitute.org/policy-analysis/view/iranian-efps-in-the-gulf-an-
emerging-strategic-risk.
50
  "Asa'ib Ahl al-Haq," Mapping Militant Organizations, Stanford University,
http://web.stanford.edu/group/mappingmilitants/cgi-bin/groups/view/143.

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85. To access U.S targets, EFP cells activated in areas where they were rarely encountered

     previously, such as in Abu Ghurayb, Khalis and Muqdadiyya (in Diyala Province), and

     Kirkuk. 51



       IRGC-QF SUPPORT TO IMPROVISED EXPLOSIVE DEVICE (IED) ATTACKS


86. The Islamic Republic of Iran’s Islamic Revolutionary Guards Corps – Quds Force (IRGC-

     QF) supplied advance lethal aid to both Sunni terrorist and Shia militant groups – to include

     advanced IEDs. 52 The IRGC-QF supplied these groups with IEDS, training, and advanced

     technology for explosive devices. These advances included triggering devices to defeat U.S.

     countermeasures at the time. 53

87. On January 9, 2008, the U.S. Department of the Treasury designated IRGC-QF operatives

     under Executive Order 13438 for threatening the peace and stability of Iraq and the

     Government of Iraq. 54

88. The U.S. uncovered evidence of IRGC-QF assistance to Sunni groups in Iraq, to include

     supplying al-Qaeda affiliates with IED components to be used in IED ambushes and suicide




51
   Knights, Michael, "Iranian EFPs in the Gulf: An Emerging Strategic Risk," Washington Institute for Near East
Policy, February 23, 2016, http://www.washingtoninstitute.org/policy-analysis/view/iranian-efps-in-the-gulf-an-
emerging-strategic-risk.

52
  Michael E. O’Hanlon, et al., The Brookings Institution, “Iraq Index Tracking Variables of Reconstruction &
Security in Post-Saddam Iraq”, November 29, 2007, https://www.brookings.edu/wp-
content/uploads/2016/07/index20071129.pdf
53
  Clay Wilson “Improvised Explosive Devices (IEDs) in Iraq and Afghanistan: Effects and Countermeasures”,
Specialist in Technology and National Security Foreign Affairs, Defense, and Trade Division, Updated August 28,
2007, https://sgp.fas.org/crs/weapons/RS22330.pdf
54
  U.S. Department of the Treasury, Press Release, “Treasury Designates Individuals, Entity Fueling Iraqi
Insurgency”, January 9, 2008, https://home.treasury.gov/news/press-releases/hp759


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       attacks. IRGC-Q Brigadier General Ahmed Foruzandeh was designated by U.S. treasury for

       providing financial and lethal aid to Sunni and Shia groups. 55

89. As early as 2004, Foruzandeh provided explosives to Sunni groups and offered to incentivize

       IED and suicide attacks with additional funds from the IRGC-QF for video-taped attacks

       against U.S. forces. 56

90. Both Iran’s IRGC-QF and the MOIS provided lethal aid and material support to al-Qaeda in

           Iraq (AQI). On February 16, 2012, U.S. Treasury designated the Iranian Ministry of

       Intelligence and Security (MOIS) for its support to al-Qaeda. According to U.S. Treasury,

           "MOIS facilitated the movement of al Qa’ida operatives in Iran and provided them with

           documents, identification cards, and passports. MOIS also provided money and weapons to

           al Qa’ida in Iraq (AQI)... and negotiated prisoner releases of AQI operatives." 57


                                      MORTAR AND ROCKET ATTACKS

91. A very visible symbol of Iran’s support to Shia Militias were the mortar and rocket attacks

       launched against U.S. bases in Iraq, almost all of which involved entire rocket/mortar

       systems or components (such as fuel packs) identified as Iranian-produced by U.S. weapons

       intelligence specialists. 58




55
     Id.
56
     Id.
57
  Daniel L. Byman, “Unlikely Alliance: Iran’s Secretive Relationship with Al-Qaeda”, Brookings,
July 31, 2012, https://www.brookings.edu/articles/unlikely-alliance-irans-secretive-relationship-with-al-qaeda/
58
  Knights, Michael, "The Evolution of Iran’s Special Groups in Iraq," CTC Sentinel, Volume 3, Issues 11-12,
November 2010, pg. 12-16, https://www.ctc.usma.edu/v2/wp-content/uploads/2011/05/CTCSentinel-Vol3Iss11-
127.pdf


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92. Specifically, 107mm Hesab 59 and 122mm Grad rockets 60, as well as the larger 240mm Fajr

       rockets were used against U.S. bases in Iraq.

93. Special Groups also made greater use of 60mm and 81mm mortars to precisely target small

       U.S. Joint Security Stations. 61

94. Improvised Rocket-Assisted Mortars ("IRAMs") were a KH tactic used against American

       forces, 62 while JAM SG and AAH made use of Indirect Fire—mortars and rockets—and

       Direct Fire—RPGs, grenades, heavy machine gun—attacks. 63


                      IRGC-BACKED MILITIAS TAKE CREDIT FOR ATTACKS

95. IRGC proxies publicly stated their roles in targeting U.S. forces. Qais al-Khazali, leader of

       AAH, bragged of his group’s role in “forcing” the U.S. withdrawal from Iraq and killing

       American Soldiers. 64, 65




59
  “U.S. shows evidence in Iraq rocket attacks it says leads to Iran”, Agence France-Presse, July 14, 2011,
http://www.thenational.ae/news/world/middle-east/us-shows-evidence-in-iraq-rocket-attacks-it-says-leads-to-iran
60
  Glanz, James and Richard A. Oppel Jr., "U.S. Displays Bomb Parts Said to Be Made in Iran," The New York
Times, February 27, 2007,
http://www.nytimes.com/2007/02/27/world/middleeast/27weapons.html?ex=1330232400&en=499d376d06186157
&ei=5090&partner=rssuserland&emc=rss.
61
     Id.

62
  "Kata'ib Hezbollah," from Mapping Militant Organizations, Stanford University,
http://web.stanford.edu/group/mappingmilitants/cgi-bin/groups/view/361
63
  “Shiite militias step up Iraq attacks on US troops”, by Associated Press, Jun 30, 2011,
http://www.deseretnews.com/2011/6/30/20201225/shiite-militias-step-up-iraq-attacks-on-us-troops
64
     “Qais al-Khazali,” Counter Extremism Project, http://www.counterextremism.com/extremists/qais-al-khazali.
65
  “Notorious Iraq militia leader once held by US threatens Americans on the battlefield,” Fox News, August 9,
2016, http://www.foxnews.com/world/2016/08/09/notorious-iraq-militia-leader-once-held-by-us-threatens-
americans-on-battlefield.html.


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96. Muqtada al-Sadr, leader of JAM SG, also called for “resistance” against the American

     Military and praised his group’s fight against the U.S. “occupation.” 66

97. KH claimed credit for its attacks, threatening to continue violence against Americans until

     the 2011 withdrawal in order to emphasize its dedication to “resistance.” 67


                                                 ATTACKS

100.     I conducted a review of the attacks, the areas where they occurred, and when they

     occurred, and concluded that 26 attacks were, within a reasonable degree of military

     intelligence and counter-insurgency certainty, committed and perpetrated by IRGC-QF Shia

     militia Proxies under the direct control, influence, and material support of the Islamic

     Republic of Iran, its IRGC and QF, and its agent and proxy, Lebanese Hezbollah, and the

     attacks were, within a reasonable degree of military intelligence and counter-insurgency

     certainty, committed and perpetrated by Foreign Terrorist Organization (FTO) al-Qaeda and

     its affiliates with material] support from the Islamic Republic of Iran, its IRGC and QF, as

     well as its agent or proxy Lebanese Hezbollah.

101.     All of my assessments as to the causation of each specific attack below is given within a

     reasonable degree of military intelligence and counter-insurgency certainty and are and are

     based upon the information contained herein and my knowledge and expertise. I am

     prepared and willing to give further explanation and answer any questions regarding each of

     the attacks.

Attack #1 (June 24, 2004)


66
   “Al-Sadr: New to fight U.S. in Iraq," CNN, June 13, 2008,
http://www.cnn.com/2008/WORLD/meast/06/13/iraq.alsadr/index.html?iref=nextin.
67
  Healy, Jack, and Michael S Schmidt, "Shiite Militia Claims Responsibility for Attack in Baghdad," New York
Times, June 10, 2011, http://www.nytimes.com/2011/06/11/world/middleeast/11iraq.html.

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Daniel Desens, Jr. was killed in an attack. James Cherry, Roy Farve, Antonio Fraser, Ralph

Isabella, Aaron Johnson, Jerry Moorhouse, Alan Payne, Thomas Rivera, Lynn Sorenson, Chad

Stephens, Jeffery Walton, and Ron Watkins all injured in a complex attack.

The complex attack included heavy machine fire, RPGs, mortars, and daisy chained IEDs to

inflict maximum casualties in this attack that killed Daniel Desens, and injured others in

Baqubah, Iraq. I attribute this attack to FTO al-Qaeda in Iraq (AQI) and its affiliates supported

by IRGC-QF lethal aid and Foreign Fighter (FF) facilitation through IRGC-QF, Lebanese

Hezbollah, and Syrian intelligence support networks. The IRGC-QF provided lethal aid to al-

Qaeda and its affiliates and sustained their operations by providing foreign fighters and lethal aid

in areas north and west of the sectarian-fault lines defined as the Karbala-Samarra-Baqubah line

The IRGC-QF supported AQI and its affiliates in areas deemed not strategic to Iran in order to

keep U.S. forces engaged – FIXED - in Sunni areas while the IRGC-QF used its proxy Shia

militias to further Iran’s strategic goals in areas vital to Iran’s control and hold on post-Saddam

Iraq.

Attack #2 (October 2006)

Bob Clements was injured in an EFP attack in Baghdad, Iraq in October of 2006. I attribute this

attack to the IRGC-QF created, trained, funded, and directed Iraqi militia Asaib Ahl al-Haqq

(AAH). I attribute the attack to AAH based on the tactic, the target, the signature weapon used,

and the area of operation.

Attack #3 (October 12, 2008)

Jason Daniels was injured in a complex attack (small arms fire and RPG fire) in the 7 Nissan

District of Baghdad, Iraq. I attribute this attack to the IRGC-QF created, trained, funded, and

directed Iraqi militia Asaib Ahl al-Haqq (AAH). I attribute the attack to AAH based on the

                                                 23

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tactic, the target, the signature weapon used, and AAH primacy in the area of operation where

the attack occurred. 68

Attack #4 (November 14, 2006)

Justin Garcia was killed in an EFP attack in Baghdad, Iraq. I attribute this attack to the IRGC-

QF created, trained, funded, and directed Iraqi militia Asaib Ahl al-Haqq (AAH). I attribute the

attack to AAH based on the tactic, the target, the signature weapon used, and AAH primacy in

the area of operation where the attack occurred.

Attack #5 (May 2009)

In May 2009, Jeris T. Holt was injured in an IED attack in Sadr City, Baghdad. I attribute this

attack to the IRGC-QF created, trained, funded, and directed Iraqi Shia Special Groups (SG)

AAH and KH – both groups worked together in this area of Baghdad. I attribute the attack to

IRGC-QF Iraqi Special Groups based on the tactic, the target, the signature weapon used, and

their primacy in the area of operation where the attack occurred.

Attack #6 (March 2011)

In March 2011, Jeris T. Holt was also injured in an IED attack in the Kadhamiyah district of

Baghdad, Iraq. I attribute this attack to the IRGC-QF created, trained, funded, and directed Iraqi

Shia Special Groups (SG) AAH and KH – both groups worked together in this area of Baghdad.

I attribute the attack to IRGC-QF Iraqi Special Groups based on the tactic, the target, the

signature weapon used, and their primacy in the area of operation where the attack occurred.

Attack #7 (December 2004)


68
  See the First Amended Declaration of Jason Eric Daniels that is attached as Exhibit 4a to Plaintiffs’ Memorandum
in Support of Their Motion for Default Judgment. Plaintiff Daniels’ Declaration was Amended to include
information regarding the damage to his relationship with his son as a result of his injuries.

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Aaron Johnson was injured in an IED attack in Diyala Province near Forward Operating Base

(FOB) Caldwell. I attribute this attack to FTO al-Qaeda in Iraq (AQI) and its affiliates supported

by IRGC-QF lethal aid and Foreign Fighter (FF) facilitation through IRGC-QF, Lebanese

Hezbollah, and Syrian intelligence support networks. The IRGC-QF provided lethal aid to al-

Qaeda and its affiliates and sustained their operations by providing foreign fighters and lethal aid

in areas north and west of the sectarian-fault lines defined as the Karbala-Samarra-Baqubah line.

The IRGC-QF supported AQI and its affiliates in areas deemed not strategic to Iran in order to

keep U.S. forces engaged – FIXED - in Sunni areas while the IRGC-QF used its proxy Shia

militias to further Iran’s strategic goals in areas vital to Iran’s control and hold on post-Saddam

Iraq.

Attack #8 (June 18, 2004)

On June 18, 2004, Brent Jurgersen was injured in a small arms ambush in Samara, Salah ad Din

Province, Iraq. The attack took place in an area where the IRGC-QF provided lethal aid to both

Sunni and Shia groups to specifically target Americans. Based on my analysis, it is more likely

than not that this attack is attributed to FTO al-Qaeda in Iraq and its affiliates under the Islamic

State of Iraq aided by IRGC-QF and Lebanese Hezbollah lethal aid and material support. The

IRGC-QF provided lethal aid to al-Qaeda and its affiliates and sustained their operations by

providing foreign fighters and lethal aid in areas north and west of the sectarian-fault lines

defined as the Karbala-Samarra-Baqubah line. The IRGC-QF supported AQI and its affiliates in

areas deemed not strategic to Iran in order to keep U.S. forces engaged – FIXED - in Sunni areas

while the IRGC-QF used its proxy Shia militias to further Iran’s strategic goals in areas vital to

Iran’s control and hold on post-Saddam Iraq.

Attack #9 (January 26, 2005)

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On January 26, 2005, Brent Jurgersen was also injured in an RPG attack in the vicinity of Balad

in Salah ad Din Province, Iraq. The attack took place in an area where the IRGC-QF provided

lethal aid to both Sunni and Shia groups to specifically target Americans. Based on my analysis,

it is more likely than not that this attack is attributed to FTO al-Qaeda in Iraq and its affiliates

under the Islamic State of Iraq aided by IRGC-QF and Lebanese Hezbollah lethal aid and

material support.

The IRGC-QF provided lethal aid to al-Qaeda and its affiliates and sustained their operations by

providing foreign fighters and lethal aid in areas north and west of the sectarian-fault lines

defined as the Karbala-Samarra-Baqubah line. The IRGC-QF supported AQI and its affiliates in

areas deemed not strategic to Iran in order to keep U.S. forces engaged – FIXED - in Sunni areas

while the IRGC-QF used its proxy Shia militias to further Iran’s strategic goals in areas vital to

Iran’s control and hold on post-Saddam Iraq.

Attack #10 (July 1, 2004)

Jeffrey Leake was injured in an IED attack in Baqubah, Diyala Province, Iraq. Initially thought

to be an EFP by Leak, after additional research, I assess that EFPs were not in use at this time

and in this area – a Sunni Stronghold at the time. This is a non-EFP AQI Attack that I attribute to

FTO al-Qaeda in Iraq (AQI) and its affiliates supported by IRGC-QF lethal aid and Foreign

Fighter (FF) facilitation through IRGC-QF, Lebanese Hezbollah, and Syrian intelligence support

networks. The IRGC-QF provided lethal aid to al-Qaeda and its affiliates and sustained their

operations by providing foreign fighters and lethal aid in areas north and west of the sectarian-

fault lines defined as the Karbala-Samarra-Baqubah line. The IRGC-QF supported AQI and its

affiliates in areas deemed not strategic to Iran in order to keep U.S. forces engaged – FIXED - in




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Sunni areas while the IRGC-QF used its proxy Shia militias to further Iran’s strategic goals in

areas vital to Iran’s control and hold on post-Saddam Iraq.

Attack #11 (February 7, 2007)

On February 7, 2007, Kyle Lewis, Joe Markell 69, Bradley Spry, and Jarrett Taylor, were injured

in an EFP attack in Northern Iraq. The photos attached to the Veterans’ declarations in this show

an EFP copper plate and the signature damage to the vehicle from an EFP attack. The EFP

attack included a secondary IED that hit the lead vehicle and the convoy was then in a small

arms ambush. I attribute this attack to the IRGC-QF created, trained, funded, and directed Iraqi

Shia Special Groups (SG). I attribute the attack to IRGC-QF Iraqi Special Groups based on the

tactic, the target, the signature weapon used (EFP), and their primacy in the area of operation

where the attack occurred.

Attack #12 (May 2007)

In May 2007, Kyle Lewis, Joe Markell, Bradley Spry, and Jarrett Taylor were injured in an IED

attack outside of Tal Afar, Iraq. Based on my analysis, it is more likely than not that this attack

is attributed to FTO al-Qaeda in Iraq and its affiliates under the Islamic State of Iraq aided by

IRGC-QF and Lebanese Hezbollah lethal aid and material support. The IRGC-QF provided

lethal aid to al-Qaeda and its affiliates and sustained their operations by providing foreign

fighters and lethal aid in areas north and west of the sectarian-fault lines defined as the Karbala-

Samarra-Baqubah line.

The IRGC-QF supported AQI and its affiliates in areas deemed not strategic to Iran in order to

keep U.S. forces engaged – FIXED - in Sunni areas while the IRGC-QF used its proxy Shia


69
  See the First Amended Declaration of Joseph Michael Markell that is attached as Exhibit 17a to Plaintiffs’
Memorandum in Support of Their Motion for Default Judgment. Plaintiff Markell’s Declaration was Amended as
his VA disability rating was increased to 100%.

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militias to further Iran’s strategic goals in areas vital to Iran’s control and hold on post-Saddam

Iraq.

Attack #13 (November 14, 2006)

On November 14, 2006, Daniel Mayer was injured in an RPG attack in Baqubah, Salah ad Din

Province, Iraq. Based on my analysis, it is more likely than not that this attack is attributed to

FTO al-Qaeda in Iraq and its affiliates under the Islamic State of Iraq aided by IRGC-QF and

Lebanese Hezbollah lethal aid and material support.

The IRGC-QF provided lethal aid to al-Qaeda and its affiliates and sustained their operations by

providing foreign fighters and lethal aid in areas north and west of the sectarian-fault lines

defined as the Karbala-Samarra-Baqubah line.

The IRGC-QF supported AQI and its affiliates in areas deemed not strategic to Iran in order to

keep U.S. forces engaged – FIXED - in Sunni areas while the IRGC-QF used its proxy Shia

militias to further Iran’s strategic goals in areas vital to Iran’s control and hold on post-Saddam

Iraq.

Attack #14 (September 10, 2004)

Donald McCallum was injured again in an IED attack in Diyala Province, Iraq. Based on my

analysis, it is more likely than not that this attack is attributed to FTO al-Qaeda in Iraq and its

affiliates under the Islamic State of Iraq aided by IRGC-QF and Lebanese Hezbollah lethal aid

and material support.

The IRGC-QF provided lethal aid to al-Qaeda and its affiliates and sustained their operations by

providing foreign fighters and lethal aid in areas north and west of the sectarian-fault lines

defined as the Karbala-Samarra-Baqubah line.




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The IRGC-QF supported AQI and its affiliates in areas deemed not strategic to Iran in order to

keep U.S. forces engaged – FIXED - in Sunni areas while the IRGC-QF used its proxy Shia

militias to further Iran’s strategic goals in areas vital to Iran’s control and hold on post-Saddam

Iraq.

Attack #15 (November 30, 2006)

On November 30, 2006, Dillion McNeeley suffers PTSD from a roadside bomb and mortar

attack in Mosul, Iraq. Through mapping and documentation, research confirmed that AQ was

the dominant group in the area in 2006. At the time of the attack the only groups that were

operating in Mosul were Ansar al Sunnah (an AQ affiliate) and Islamic State of Iraq (which

evolved from AQ). Therefore, I conclude that this attack was committed by FTO AQ that was

funded and/or provided material support by Iran.

The IRGC-QF provided lethal aid to al-Qaeda and its affiliates and sustained their operations by

providing foreign fighters and lethal aid in areas north and west of the sectarian-fault lines

defined as the Karbala-Samarra-Baqubah line.

The IRGC-QF supported AQI and its affiliates in areas deemed not strategic to Iran in order to

keep U.S. forces engaged – FIXED - in Sunni areas while the IRGC-QF used its proxy Shia

militias to further Iran’s strategic goals in areas vital to Iran’s control and hold on post-Saddam

Iraq

Attack #16 (July 2007)

In July 2007, Dillion McNeeley is involved in a complex attack (RPG, small caliber arms fire) in

Mosul, Iraq. Through mapping and documentation, research confirmed that AQ was the

dominant group in the area in 2007. At the time of the attack the only groups that were operating




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in Mosul were Ansar al Sunnah (an AQ affiliate) and Islamic State of Iraq which evolved from

AQ).

I attribute this attack to FTO al-Qaeda in Iraq (AQI) and its affiliates supported by IRGC-QF

lethal aid and Foreign Fighter (FF) facilitation through IRGC-QF, Lebanese Hezbollah, and

Syrian intelligence support networks.

The IRGC-QF provided lethal aid to al-Qaeda and its affiliates and sustained their operations by

providing foreign fighters and lethal aid in areas north and west of the sectarian-fault lines

defined as the Karbala-Samarra-Baqubah line.

The IRGC-QF supported AQI and its affiliates in areas deemed not strategic to Iran in order to

keep U.S. forces engaged – FIXED - in Sunni areas while the IRGC-QF used its proxy Shia

militias to further Iran’s strategic goals in areas vital to Iran’s control and hold on post-Saddam

Iraq

Attack #17 (November 2006 – January 2007)

Francisco Miguel suffers PTSD from multiple EOD detonations of EFPs and IEDs, and other

road-side bombs planted by terrorists around Mosul, Iraq. Sunni and Shia groups supported by

Iran’s IRGC-QF and Lebanese Hezbollah employed IEDs on routes to kill Americans. The EFP

is the signature weapon of IRGC-QF militia AAH.

I attribute this attack to IRGC-QF support to both Shia and Sunni groups operating in areas

where Miguel would have to clear IEDs and the signature weapon of IRGC-QF Iraqi Shia

militias – the EFP.

The IRGC-QF provided lethal aid to al-Qaeda and its affiliates and sustained their operations by

providing foreign fighters and lethal aid in areas north and west of the sectarian-fault lines

defined as the Karbala-Samarra-Baqubah line.



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The IRGC-QF and Lebanese Hezbollah trained Shia groups on the emplacement of IEDs and

EFPs. Both Sunni and Shia groups grew their lethality through IRGC-QF lethal aid and direct

support.

Attack #18 (February 15, 2011)

Zach Roth was injured in an EFP in near Forward Operating Base Kalsu, in Iskandariya south of

Baghdad, Iraq. This area is an AAH stronghold and AAH is the dominant IRGC-QF proxy in

2011. I attribute this attack to the IRGC-QF created, trained, funded, and directed Iraqi militia

Asaib Ahl al-Haqq (AAH). I attribute the attack to AAH based on the tactic, the target, the

signature weapon used, and their primacy in the area of operation where the attack occurred.

Attacks #19 (June 2003)

In June 2003, Jonas Ware was in an IED attack in in Kirkuk Province, Iraq. Through mapping

and documentation, research confirmed that AQ was the dominant group in the area in 2003. At

the time of the attack the only groups that were operating in this area were Ansar al Sunnah (an

AQ affiliate) and Islamic State of Iraq (which evolved from AQ).

I attribute this attack to FTO al-Qaeda in Iraq (AQI) and its affiliates supported by IRGC-QF

lethal aid and Foreign Fighter (FF) facilitation through IRGC-QF, Lebanese Hezbollah, and

Syrian intelligence support networks.

The IRGC-QF provided lethal aid to al-Qaeda and its affiliates and sustained their operations by

providing foreign fighters and lethal aid in areas north and west of the sectarian-fault lines

defined as the Karbala-Samarra-Baqubah line.

The IRGC-QF supported AQI and its affiliates in areas deemed not strategic to Iran in order to

keep U.S. forces engaged – FIXED - in Sunni areas while the IRGC-QF used its proxy Shia




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militias to further Iran’s strategic goals in areas vital to Iran’s control and hold on post-Saddam

Iraq.

Attack #20 (August 2003)

In August 2003, Jonas Ware was in an IED attack in Hawija, in Kirkuk Province, Iraq.

Through mapping and documentation, research confirmed that AQ was the dominant group in

the area in 2003. At the time of the attack the only groups that were operating in this area were

Ansar al Sunnah (an AQ affiliate) and Islamic State of Iraq which evolved from AQ).

I attribute this attack to FTO al-Qaeda in Iraq (AQI) and its affiliates supported by IRGC-QF

lethal aid and Foreign Fighter (FF) facilitation through IRGC-QF, Lebanese Hezbollah, and

Syrian intelligence support networks.

The IRGC-QF provided lethal aid to al-Qaeda and its affiliates and sustained their operations by

providing foreign fighters and lethal aid in areas north and west of the sectarian-fault lines

defined as the Karbala-Samarra-Baqubah line.

The IRGC-QF supported AQI and its affiliates in areas deemed not strategic to Iran in order to

keep U.S. forces engaged – FIXED - in Sunni areas while the IRGC-QF used its proxy Shia

militias to further Iran’s strategic goals in areas vital to Iran’s control and hold on post-Saddam

Iraq.

Attack #21 (June 6, 2004)

Lloyd Williams was injured in an IED attack in the Abu Ghraib District of Baghdad, Iraq.

Initially thought to be an EFP by Williams, after additional research, I assessed that EFPs were

not in use at this time and in this area. Abu Gharaib is a Sunni stronghold along the Shia-Sunni

sectarian fault lines – areas where AQI and Iran’s proxies fought for control with Iran ultimately

winning by displacing Sunnis in areas strategic to Iran.



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Again, 2004 is too early for EFPs, outside of a few areas in Southern Iraq. This is a non-EFP

AQI Attack and, therefore, I attribute this attack to FTO al-Qaeda in Iraq (AQI) and its affiliates

supported by IRGC-QF lethal aid and Foreign Fighter (FF) facilitation through IRGC-QF,

Lebanese Hezbollah, and Syrian intelligence support networks.

The IRGC-QF provided lethal aid to al-Qaeda and its affiliates and sustained their operations by

providing foreign fighters and lethal aid in areas north and west of the sectarian-fault lines

defined as the Karbala-Samarra-Baqubah line.

The IRGC-QF supported AQI and its affiliates in areas deemed not strategic to Iran in order to

keep U.S. forces engaged – FIXED - in Sunni areas while the IRGC-QF used its proxy Shia

militias to further Iran’s strategic goals in areas vital to Iran’s control and hold on post-Saddam

Iraq.



Attack #22 (February 8, 2007)

James Williamson was injured in an RPG attack in Hassa, Anbar Province, Iraq. I attribute this

attack to FTO al-Qaeda in Iraq (AQI) and its affiliates supported by IRGC-QF lethal aid and

Foreign Fighter (FF) facilitation through IRGC-QF, Lebanese Hezbollah, and Syrian intelligence

support networks.

The IRGC-QF provided lethal aid to al-Qaeda and its affiliates and sustained their operations by

providing foreign fighters and lethal aid in areas north and west of the sectarian-fault lines

defined as the Karbala-Samarra-Baqubah line.

The IRGC-QF supported AQI and its affiliates in areas deemed not strategic to Iran in order to

keep U.S. forces engaged – FIXED - in Sunni areas while the IRGC-QF used its proxy Shia




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militias to further Iran’s strategic goals in areas vital to Iran’s control and hold on post-Saddam

Iraq.

    AFGHANISTAN ATTACK ATTRIBUTION METHODOLOGY AND ANALYSIS

102.    In my examination and analysis of the terrorist attacks and the tactics used in the attacks

    that occurred in Afghanistan in this lawsuit, I have made use of all of my intelligence

    experience and knowledge which I discussed in the previous section of this Report. The

    inescapable conclusion is that the Islamic Republic of Iran specifically used its IRGC, and

    Ministry of Intelligence and Security (MOIS) to provide funding, training, weapons,

    equipment, and most importantly lethal aid to the Taliban to target Americans in Afghanistan

103.    In order to prepare my Declaration, I was provided with the following documents, reports

    and forms, not all of which were available for any one Soldier, but which were provided

    when available for each Soldier:

           •   Soldier and Family Member Declarations;
           •   Social Security Numbers;
           •   Certificates of Death;
           •   Casualty Reports;
           •   Autopsy Reports;
           •   DD Form 214, Certificate of Release or Discharge from Active Duty; and
           •   Pre-redacted Wikileaks (reports to verify or disqualify attribution claims).

    104. Based on the documents and reports provided to me, I was able to look at the locations

        and missions of the units the victims were assigned to and, along with my counter-

        insurgency experience and access to attack-specific documents supporting the area of

        operations of specific Sunni and Shia groups receiving Iran-linked lethal aid, I was able

        to confirm that specific Soldiers were in fact involved in specific attacks by groups that

        received lethal aid from Iran’s IRGC-QF and the MOIS.

         THE IRGC-QF AND THE MOIS FINANCED, TRAINED, EQUIPPED, AND
           FACILITATED TALIBAN ATTACKS AGAINST U.S. PERSONNEL

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     106. The IRGC-QF provided substantial financial and technical support to the Taliban. The

           IRGC established, organized, and funded advanced training in Iran for Taliban

           operatives to learn how to employ explosives (IEDs and EFPS), complex ambushes,

           sniper operations, and indirect fire (mortars and rockets) and direct attacks against U.S.

           Forces in Afghanistan.

     107. The 2006 U.S. Treasury designation of the IRGC-QF under Executive Order 13224 –

           support for terrorism - states, “the Qods Force is the Iranian regime's primary

           instrument for providing lethal support to the Taliban. Since at least 2006, Iran has

           arranged frequent shipments of small arms and associated ammunition, rocket propelled

           grenades, mortar rounds, 107mm rockets, plastic explosives, and probably man-

           portable defense systems to the Taliban. This support contravenes Chapter VII UN

           Security Council obligations. UN Security Council resolution 1267 established

           sanctions against the Taliban and UN Security Council resolutions 1333 and 1735

           imposed arms embargoes against the Taliban. Through Qods Force material support to

           the Taliban, we believe Iran is seeking to inflict casualties on U.S. and NATO

           forces.” 70, 71

                                                   ATTACKS


108. I conducted a review of the attacks, the areas where they occurred, the time period when

     they occurred, and concluded that (number of) attacks were committed by the Taliban and



70
   U.S. Treasury, 25 October 2007, Fact Sheet: Designation of Iranian Entities and Individuals for Proliferation
Activities and Support for Terrorism, https://www.treasury.gov/press-center/press-releases/Pages/hp644.aspx
71
  United States Institute of Peace, The Iran Primer, “Iran Deal: U.S. Sanctions on the IRGC”, Updated May 11,
2022, https://iranprimer.usip.org/blog/2022/apr/13/iran-deal-us-sanctions-irgc


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     within a reasonable degree of military intelligence and counter-insurgency certainty,

     committed and perpetrated by the Taliban with IRGC-QF and MOIS support.

109. All of my assessments as to the causation of each specific attack below is given within a

     reasonable degree of military intelligence and counter-insurgency certainty.

Attack #23 (March 9, 2011)

Robert Bruce was severely injured in an IED attack in Kajaki District, Afghanistan. The IRGC-

QF and MOIS were designated in 2007 by U.S Treasury for providing lethal aid to the Taliban. I

attribute this attack to IRGC-QF and MOIS Lethal Aid to the Taliban. The attack took place at

time when the IRGC-QF and the MOIS were increasing their support to the Taliban with the goal

of exiting the U.S. from Afghanistan.

Attack #24 (July 2013)

Jeris Holt was injured in a rocket attack in Puli Alam, Afghanistan. The IRGC-QF and the

MOIS were designated for providing lethal aid to the Taliban. The IRGC-QF supplied and

trained Taliban fighters on the use of rockets to attack American forces. I attribute this attack to

IRGC-QF and MOIS Lethal Aid to the Taliban based on the weaponry and the location of the

attack.

Attacks #25 (August 2007-2008)

During a year-long deployment from August 2007 to 2008, in the Kunar and Nuristan Provinces

of Afghanistan, Chase Jurgenson suffered PTSD from persistent RPG, mortar, rockets, small

arms fire attacks. The IRGC-QF and the MOIS were designated for providing lethal aid to the

Taliban. The IRGC-QF supplied and trained Taliban fighters on the use of rockets for the

purpose of attacking American forces. I attribute this attack to IRGC-QF and MOIS Lethal Aid

to the Taliban.



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Attack #26 (November 2012)

Chase Jurgensen was injured in an IED attack in Kandahar, Afghanistan. The IRGC-QF and

MOIS were designated in 2007 by U.S Treasury for providing lethal aid to the Taliban

specifically for the purpose of attacking Americans. I attribute this attack to IRGC-QF and

MOIS Lethal Aid to the Taliban based on the weaponry and the location of the attack. The

attack took place at time when the IRGC-QF and the MOIS were increasing their support to the

Taliban with the goal of exiting the U.S. from Afghanistan.

       All information and opinions contained in this Report are truthful and accurate, and if

called to testify, I would testify consistent with this Report. The publications, articles, studies,

and transcripts cited in this Report are reliable and trustworthy, are the type of resources relied

upon by professionals in my field, were prepared according to legal requirements of the

respective governmental departments, agencies, or offices by whom they were generated, are

public records from the governmental department, agency or office where such types or kinds of

items are kept, are reports from the governmental department, agency or office with a duty to

report on the subject matters of the reports, including factual findings, and/or are legitimate and

reliable sources of information. My current CV is attached hereto as Attachment C.

       Pursuant to 28 U.S.C.A. §1746, I declare under penalty of perjury under the laws of the

United States of America the foregoing is true and correct. Executed on May 16, 2022.




                                                                              ___________________

                                                                                  Michael P. Pregent




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